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                            UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF LOUISIANA

WATIKA DALTON, ET AL.                                              CIVIL ACTION

VERSUS                                                             NO. 19-578-BAJ-RLB

MIKE CAZES, ET AL.

                                             ORDER

       This matter is before the Court on a Joint Motion to Continue Scheduling Conference and

Status Report (R. Doc. 7). A Scheduling Conference Order (R. Doc. 5) was entered setting a

scheduling conference for November 7, 2019 with a joint status report due by October 24, 2019.

       A review of the Court’s Docket Sheet reflects there are no service returns in the record

for the defendants. The Court also notes that summons were never requested and there are no

executed waivers of service filed in the record.

       Based on the foregoing,

       IT IS ORDERED that the Joint Motion to Continue Scheduling Conference and Status

Report is GRANTED. The Scheduling Conference is reset for December 19, 2019 at 11:00

a.m. in chambers. A joint status report shall be filed on or before December 5, 2019.

       Signed in Baton Rouge, Louisiana, on October 24, 2019.



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                                              RICHARD L. BOURGEOIS, JR.
                                              UNITED STATES MAGISTRATE JUDGE
